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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS
                         SHERMAN DIVISION

  CHRISTIAN GARCIA-ALVAREZ, on
  behalf of himself and those similarly
  situated,
                                                  CIVIL ACTION FILE NO:
        Plaintiffs,
  v.                                                   4:21-cv-124-ALM

  FOGO DE CHAO CHURRASCARIA
  (PITTSBURGH) LLC, et al.,

       Defendants.

 PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION FOR RULING
  THAT PURPORTED ARBITRATION AGREEMENTS ARE INVALID
    AND UNENFORCEABLE AND TO AUTHORIZE MAILING OF
        CORRECTIVE NOTICE AND POSTING OF ORDER


                              I.   INTRODUCTION

       In their Response to Plaintiffs’ Motion for Ruling That Purported Arbitration

Agreements Are Invalid and Unenforceable and Seeking to Authorize Mailing of

Corrective Notice and Posting Order for Defendants Fogo De Chao Churrascaria

(Pittsburgh) LLC, et al. (“Defendants”), argue that their actions in forcing putative

class members to sign a “Mutual Arbitration Agreement” is entirely above board.

The facts show otherwise and the law supports this Court taking remedial action in

the form of invalidating the arbitration agreement and issuing a corrective notice to

all putative class members.
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             II.   ARGUMENT AND CITATION TO AUTHORITY

      A.      Defendants’ Arbitration Agreement is coercive and misleading,
              and the Court should declare it void and unenforceable.

      Defendants spend a great deal of time in their Response repeating that just

because an arbitration agreement is signed after a lawsuit is filed, it doesn’t make

the arbitration invalid. While that’s a true statement of law, it’s not the sole issue in

this case. As Plaintiffs pointed out in their Memorandum in Support (Doc. No. 56),

Defendants’ communications about the Mutual Arbitration Agreement with putative

class members in this case has been coercive and misleading. For multiple reasons,

this authorizes this Court to invalidate the Agreement.

      One of the reasons that the Agreement is coercive certainly is because of the

timing. The Court should not ignore the fact that Defendants required putative class

members to sign the Arbitration Agreement only after this lawsuit was filed because

that is a fact weighing against the enforcement of the Agreement. See, e.g., Degidio

v. Crazy Horse Saloon & Rest. Inc., 880 F.3d 135, 138 (4th Cir. 2018); Billingsley

v. Citi Trends, 560 F. App’x 914 (11th Cir. 2014). While Defendants attempt to

downplay the timing of the presentation of the Arbitration Agreement, the timing is

important.

      In addition to the timing of the rollout of this Agreement, the Agreement itself

is coercive in nature. The Agreement specifically targets this lawsuit. Defendants’

attempts to downplay that fact doesn’t make it any less significant. Indeed, other
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courts have found that instances of targeting putative class members specifically

weighs in favor of invalidating the agreement. See, e.g., Billingsley, 560 F. App’x at

922.

       The Agreement also requires putative class members to choose between

pursuing their legal rights in court or being terminated from their jobs. This places

enormous coercive pressure on putative class members to sign Defendants’

agreement or risk losing their ability to make a living. Again, courts have found such

tactics to be coercive. See Billingsley, 560 F. App’x at 919. The combination of

explicitly calling out this case in the Agreement, among several others, and the threat

of termination of employment, clearly can have a coercive effect on putative class

members.

       There’s no dispute here that the Court has the ability to limit the nature of the

communications between a party and a putative class member. See Kleiner v. First

Nat’l Bank of Atlanta, 751 F.2d 1193,1201–03 (11th Cir.1985) (recognizing district

court's authority to police class member contacts and to prohibit defendant from

engaging in unsupervised, unilateral communications with plaintiff class members

to solicit exclusion requests from Rule 23 class). And none of the cases cited by

Defendants alter that reality.

       For example, Defendants cite Norton v. Tucker Entertainment, LLC, 2014 WL

502654, at *4 (N.D. Tex. Oct. 8, 2014), for the proposition that “it would be ill-

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advised to distinguish between pending and non-pending claims when applying the

arbitration clause.” But as Plaintiffs have already explained, this isn’t the true issue

here. Moreover, the Norton court’s analysis focused on whether the parties had

formed a valid contract and whether the plaintiff’s claims fell within the arbitration

agreement’s scope. Likewise, in Kubala v. Supreme Prod. Servs., Inc., 2016 WL

7971733 (5th Cir. June 14, 2016), the court addressed whether a valid agreement

existed and if the plaintiffs’ claims fell within the scope of the agreement. In neither

Norton nor Kubala did the court address whether the defendant’s communications

with putative class members was misleading and coercive, as they are here.

      Defendants likewise cite to Kalenga v. Irving Holdings, Inc., 2020 WL

7496208 (N.D. Tex. Dec. 20, 2020), for the proposition that whether Defendants

presented the arbitration agreements before or after suit was filed is of no moment.

Again, that is not the sole issue here. Furthermore, the Kalenga court noted that in

other cases where courts had refused to enforce arbitration agreements, there was a

showing of coercion. Id. at *8–9. In one such instance, the court noted that

“‘employees understood that they would be fired if they did not assent to the

arbitration agreement.’” Id. at *8 (quoting Billingsley, 560 F. App’x at 919). There

was no evidence of coercion in Kalenga.

      This case, unlike those cited by Defendants, includes improper

communications to putative class members, and so this Court has the discretion to

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limit those communications in a meaningful way. Belt v. Emcare, Inc., 299

F.Supp.2d 664, 667 (E.D. Tex. 2003) (“Courts have found a need to limit

communications with absent class members where the communications were

misleading, coercive, or an improper attempt to ... encourag[e] class members not to

join the suit.”); Hampton Hardware, Inc. v. Cotter & Co., Inc., 156 F.R.D. 630, 633

(N.D.Tex.1994) (noting that communications to class members “urging them to

disassociate themselves from the suit have also been held improper”).

                               III.   CONCLUSION

      The “Mutual Arbitration Agreement” notifying potential class members that

they will be bound to arbitrate all employment claims, including the claims that are

the subject of this case, is an unwarranted effort to prevent class members from

participating in this case and an unjustified interference with their rights. Plaintiffs

respectfully ask this Court to remedy this action by ordering the following:

            the Court should declare these arbitration agreements, as they effect the
             proposed class in this case, void, invalid, and unenforceable;

            authorize mailing of the proposed corrective notice, at Defendants’
             expense;

            order Defendants to provide Plaintiffs’ counsel with a list of the names
             of class members and their last-known residence addresses and e-mail
             addresses to facilitate mailing of the corrective notice; and

            further request that the Court require the posting of any Order granting
             this Motion at each of Defendants’ work location where putative class
             members may be present.

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     Respectfully submitted, this the 11th day of October 2021.

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                           CERTIFICATE OF SERVICE

      I hereby certify that on this the 11th day of October 2021, a true and correct

copy of the foregoing has been electronically filed served with the Clerk of Court

using the CM/ECF system, which will automatically send email notification of such

filing to all attorneys of record.

      I also certify that the foregoing has been prepared in a Times New Roman

14-point font, one of the font and point selections approved by the Court in Local

CV-10(a)(5).

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